798 F.2d 1409Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Leroy A. TURNER, Appellant,v.Toni V. BAIR, Warden;  Dr.  Gulmatico, Physician, Appellees.
    No. 86-7568.
    United States Court of Appeals, Fourth Circuit.
    Submitted June 23, 1986.Decided Aug. 29, 1986.
    
      Leroy A. Turner, appellant pro se.
      Michael A. Likavec, Office of the Attorney General and Rosewell Page, McGuire, Woods &amp; Battle, for appellees.
      E.D.Va.
      AFFIRMED.
      Before PHILLIPS, SPROUSE and WILKINSON, Circuit Judges.
      PER CURIAM:
    
    
      1
      A review of the record and the district court's opinion discloses that this appeal from its order denying relief under 42 U.S.C. Sec. 1963 is without merit.  Because the dispositive issues recently have been decided authoritatively, we dispense with oral argument and affirm the judgment below on the reasoning of the district court.  Turner v. Bair, C/A No. CA-85-737-N (E.D.Va., March 26, 1986) .
    
    
      2
      AFFIRMED.
    
    